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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 124, Motion to Continue Sentencing Hearing by

Isreal Travis Bishop. The motion is granted, and sentencing is reset for Friday, September 28,

2007 at 10:00 a.m.



       DONE AND ORDERED this 27th day of July, 2007


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
